                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION

                         CASE NO: 6:21-cv-00896-RBD-EJK

ROSE MARIE CELESTIN, as
Next of Kin and Personal
Representative of the Estate of JEAN
SAMUEL CELESTIN, deceased,

            Plaintiff,

v.

CITY OF OCOEE, Officer JOSHUA BODE,
individually, Officer CHRISTOPHER BONNER,
individually, Officer DOMINIC
CHIUCHIARELLI, individually, Officer
BRIAN HARRIS, individually, TOWN OF
WINDERMERE, and Officer GRIFFIN
HEBEL, individually,

          Defendants.
____________________________________/


PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION
  TO STRIKE, OR IN THE ALTERNATIVE, FOR LEAVE TO SERVE
 SURREBUTTAL EXPERT REPORTS AND EXTENSION OF TIME TO
             TAKE ALON STEINBERG’S DEPOSITION

      Plaintiff Rose Marie Celestin opposes Defendants’ motion to strike the

rebuttal expert report by Dr. Alon Steinberg, or in the alternative, to amend the

Second Amended Case Management and Scheduling Order. Doc. 81.
                                    ARGUMENT

      Dr. Steinberg’s rebuttal report is proper because it is on the same subject

matter as the reports of Defendants’ experts and meticulously contradicts their

opinions. See Fed. R. Civ. P. 26(a)(2)(D)(ii). For example, Dr. Steinberg, a

cardiologist, rebuts Dr. Vilke’s opinion that Mr. Celestin’s enlarged heart

contributed to his death by explaining that his heart was of normal size, Doc. 81-12

at 12, and he rebuts Dr. Vilke’s opinion that the officers’ conduct could not have

caused Mr. Celestin’s death by summarizing various studies (including Dr. Vilke’s

own studies) that contradict that conclusion, Doc. 81-12 at 6-8.

      A rebuttal expert report is proper so long as it “present[s] evidence that

contradicts or rebuts evidence on the same subject matter identified by an initial

expert witness.” Northrup v. Werner Enter., Inc., No. 8:14-cv-1627, 2015 WL

4756947, at *2 (M.D. Fla. Aug. 11, 2015); see also Teledyne Instruments, Inc. v.

Cairns, No. 6:12-cv-854, 2013 WL 5781274, at *17 (M.D. Fla. Oct. 25, 2013)

(rebuttal report need only “repel other expert testimony”) (cleaned up).

      The rebuttal reports in the three cases Defendants rely on “[did] not

specifically identify or attack the testimony of [the other parties’] experts.” See, e.g.,

In re Trasylol Prod. Liab. Litig., No. 1:09-MD-01928, 2010 WL 4065436, at *2

(S.D. Fla. Aug. 6, 2010). Here, Dr. Steinberg’s expert report is organized by each

expert opinion he rebuts and mentions Defendants’ experts a combined 73 times.

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See generally Doc. 81-12. Under these circumstances, Dr. Steinberg’s report is a

“bona fide rebuttal report,” which should be admitted with no changes to the Court’s

scheduling order. Teledyne Instruments, 2013 WL 5781274, at *18 (report was

“bona fide” where it mentioned other party’s expert 30 times); see also Johnson v.

Petsmart, Inc., No. 6:06-cv-1716, 2007 WL 3024029, at *2 (M.D. Fla. Oct. 15,

2007) (rebuttal report proper because it responded to another expert’s enumerated

opinions).

      In any event, Defendants’ motion to strike the report in its entirety must be

denied because it “is a drastic remedy, which is disfavored by the courts.” Kearney

Constr. Co. LLC v. Travelers Cas. & Sur. Co. of Am., No. 8:09-cv-1850, 2017 WL

2172200, at *1 (M.D. Fla. Apr. 19, 2017) (cleaned up); see also Brown v. Nocco,

No. 8:16-CV-3155, 2018 WL 7502408, at *2 (M.D. Fla. June 11, 2018) (motion to

strike “too severe a sanction” where rebuttal expert offered new information on

causation).

      WHEREFORE Plaintiff respectfully requests that this Court (1) deny

Defendants’ motion (Doc. 81) in its entirety, or (2) in the alternative, if the Court

grants Defendants’ request for surrebuttal reports, deny Defendants’ request to

extend the deadline to depose Dr. Steinberg (whose report has already been served)

and grant Plaintiff an extension of the deadline to depose Defendants’ experts until

one month after such reports are served.

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Dated:   June 28, 2022
         Orlando, Florida

                            /s/ Jeremy K. Markman
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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on June 28, 2022, I filed the foregoing with the

court using the CM/ECF system, which will send a notice of electronic filing to all

counsel of record.


                                   /s/ Andrew K. Jondahl
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